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                UNITED STATES COURT OF INTERNATIONAL TRADE




LUSCIOUS SEAFOOD LLC;

                      Plaintiff,
                                                         Court No. 24-00069
                     v.

UNITED STATES OF AMERICA;


                     Defendant.


                                         COMPLAINT

       Plaintiff Luscious Seafood LLC ("Luscious" or "Plaintiff'), by and through its

undersigned counsel, Doyle, Barlow & Mazard PLLC, alleges and states the following:

                   ADMINISTRATIVE DECISION TO BE REVIEWED

       1.      This Complaint is brought by Plaintiff to contest certain aspects of the final

administrative review results issued by the International Trade Administration ("ITA") of the

United States Department of Commerce ("Commerce" or "Defendant") in Certain Frozen Fish

Fillets from the Socialist Republic of Vietnam: Final Results and Partial Rescission of

Administrative Review; 2021-2022, 89 Fed. Reg. 18,595 (Dep'tofCommerce Mar. 14, 2024)

("Final Determination'') and accompanying Issues and Dec. Mem. ("Final Results").

       2.      In the challenged Final Results, Commerce found that Luscious did not qualify as

a bona fide wholesaler of domestic like product during the period of review ("POR").
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                                          JURISDICTION

            3.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(c) and

Sections 516A(a)(2)(A)(ii) and 516A(a)(2)(B)(i) of the Tariff Act of 1930, as amended,

codified as 19 U.S.C. §§ 1516a(a)(2)(A)(ii) and 1516a(a)(2)(B)(i). Plaintiff contests the

Department's Final Results specifically as applied to Plaintiff.

                                            STANDING

        4.       Plaintiff is a wholesaler of domestic like product of the subject merchandise that

 was the subject of the underlying review. Plaintiff participated in the underlying ITA

 administrative review proceeding. Plaintiff, therefore, is an "interested party" within the

 meaning of Section 771(9)(C) of the Act, as amended, 19 U.S.C. § 1677(9)(C), and has

 standing to commence this action pursuant to 28 U.S.C § 263l(c) and 19 U.S.C § 1516a(d).

                                TIMELINESS OF THIS ACTION

        5.       Plaintiff commenced this action by filing a summons on April1, 2024, which was

within thirty days of publication of the Final Determination in the Federal Register. 19 U.S C.

§ 1516a(a)(2)(A)(i)(II); see Final Determination, 89 Fed. Reg. 18,595, Summons (April!, 2024)

ECFNo. 1.

       6.        Pursuant to 28 U.S.C. § 2636(c), a complaint in a civil action brought under 28

U.S.C. § 158l(c) must be filed in accordance with Rule 3(a)(2) of the Rules of the U.S. Court of

International Trade, requiring that a complaint be filed within thirty days of the summons. This

complaint, therefore, is filed timely pursuant to Section 516A(a)(2)(A) and Rule 3(a)(2).
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                                    STANDARD OF REVIEW

        7.      This Court reviews final determinations issued by Commerce pursuant to 19

U.S.C. 1675(a) to determine whether they are ''unsupported by substantial evidence on the

record or otherwise not in accordance with law." 19 U.S.C. 1516a(b)(l)(B)(i).

                                  STATEMENT OF THE CLAIMS

 Plaintiff challenges the Final Results of the administrative review for the following reasons:

                                        COUNT ONE

         8.    Paragraphs 1 through 7 are adopted and incorporated, herein, by reference.

         9.    The Commerce Department determined that Luscious did not qualify as a bona

fide wholesaler of domestic like product during the POR, and treated Luscious' request for

 administrative review as invalid. "We continue to find that Luscious Seafoods did not qualify

 as a bona fide wholesaler of domestic like product during the POR and, thus, Luscious Seafood

 does not have standing to request a review as a domestic interested party." Final Results at 7.

         10.    This decision ignored or misinterpreted substantial evidence on the record

 regarding Luscious' business practices, history, the nature of its sales, and its operating

 process. Commerce's reliance on Luscious' limited history, sources of funding, and affiliated

 transactions as grounds for denying Luscious wholesaler status are unsupported by substantial

 evidence and otherwise not in accordance with law.

       11.     Moreover, Commerce has not previously created any "limited history," "sources

of funding," or "affiliated transaction" standard in prior proceedings. Therefore, Commerce's

rejection of Luscious' standing to request a review as a domestic interested party on these

arbitrary standards is flawed significantly.
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                                                ***
               DEMAND FOR JUDGMENT AND PRAYER FOR RELIEF

WHEREFORE, and as challenged herein, Plaintiff respectfully requests that this Court:

   1) hold that Commerce's Final Results were unsupported by substantial evidence and

       otherwise not in accordance with law with respect to the claims advanced by Plaintiff in

       this Complaint; and

    b) remand the Final Results of the administrative review to the Commerce Department

        with instructions to correct the errors set forth in this Complaint by reviewing all parties

        that had reviewable entries and were named in the request for review filed by Luscious;

        and

    c) provide such other relief as the Court deems just and proper.

                                                      Respectfully Submitted,

                                                      Is/ Camelia C. Mazard
                                                      Camelia C. Mazard
                                                      Andre P. Barlow

                                                      Counsel to Luscious Seafood LLC
Dated: May 1, 2024                                    Doyle, Barlow & Mazard PLLC
                                                      1825 K St. NW, Suite 950
                                                      Washington, DC 20006
